                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION (DETROIT)


In re:                                                        Chapter 11

Residents First, LLC,                                         Case Number 23-49817

         Debtor.                                              Hon. Mark A. Randon

                                      /

  ORDER GRANTING IN PART CREDITOR CHAMPION HOME BUILDERS, INC.’S
     MOTION FOR AUTHORIZATION TO ISSUE RULE 2004 SUBPOENAS,
             FOR PRODUCTION OF DOCUMENTS, AND FOR
              ORAL EXAMINATION OF CERTAIN PARTIES

         This matter is before the Court on Creditor Champion Home Builder, Inc.’s (“CHB”)

Motion for Authorization to Issue Rule 2004 Subpoenas, for Production of Documents, and for

Oral Examination of Certain Parties (the “Motion”). On January 22, 2024, the Court heard

argument on the Motion. For the reasons stated on the record, the Motion is GRANTED IN

PART. CHB’s production requests are limited as follows:

         1.     Production requests under provisions s. and t., are limited to one year prepetition.

         2.     Production requests under provision v., as to the federal and state tax returns of
                Debtor, are limited to redacted Schedule Cs for tax years 2020, 2021, and 2022, as
                filed by Ara Darakjian, Debtor’s sole member.

Debtor did not oppose CHB’s production requests under provisions r. and w. Thus, production

to CHB, as it pertains to provisions r. and w., shall be as stated in the Motion. In contrast,

production requests under provision u. are DENIED.

         IT IS ORDERED.
Signed on January 22, 2024




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